                                Case 4:21-cv-03313 Document 1-1 Filed on 10/08/21 in TXSD Page 1 of 7

                                                         Exhibit A to the Complaint
                                                           Case No. 4:21-cv-3313
Location: Houston, TX                                                                               IP Address: 98.194.44.145
Total Works Infringed: 57                                                                           ISP: Comcast Cable
 Work      Hashes                                                                UTC        Site           Published     Registered   Registration
 1         Info Hash:                                                            09-17-     Vixen          05-21-2021    06-03-2021   PA0002299688
           BE759F6A958267C1A4C7E1B93F63ECB0B0EE0A46                              2021
           File Hash:                                                            18:16:31
           4CA71F7DF19396D03CFAE2047B41EE8B846297AC0CD7DF5EB885A7BA9879C004
 2         Info Hash:                                                            09-17-     Tushy          02-10-2019    03-24-2019   PA0002184028
           010C537E2113A842DD456D9CE3CF5742EEE3A452                              2021
           File Hash:                                                            18:14:39
           64BCB6327C96448427080E9FFE7FC8FE4FA29CA1F95DFD012EF12D5E3BB60283
 3         Info Hash:                                                            09-17-     Tushy          11-02-2017    12-05-2017   PA0002098020
           3B913AE933B404738173DAD1D33E916D0867240A                              2021
           File Hash:                                                            18:13:46
           488BDB6BC01026126CF0B5F73B358299761D41C158CDFF8E9791229686F73D5A
 4         Info Hash:                                                            09-17-     Tushy          12-17-2017    01-24-2018   PA0002101765
           8D5DE484015A72B7168653996329D73FC5BBAC11                              2021
           File Hash:                                                            18:13:06
           47E82460DF447B6CC20F312A9ACDA0B30583BCB22B8BB2C354DEC4B420044AD9
 5         Info Hash:                                                            09-17-     Vixen          11-10-2018    11-25-2018   PA0002136725
           5DC77020A12CCE492606F81A89809CF2A2F3273E                              2021
           File Hash:                                                            18:12:21
           F5F747A4531B9217540F7D1E15F5C1117D0122BC044F5EC6380653DB1233B56C
 6         Info Hash:                                                            09-15-     Blacked        05-29-2021    07-08-2021   PA0002300658
           4250487D9BBC3E487E7A757F032DB819FDA1292C                              2021
           File Hash:                                                            19:02:28
           C908CEAC1EFC4FD506BA0EDB7440D378F8844D7C4493C0CB1AEBDA2A65C29DBB
 7         Info Hash:                                                            09-15-     Vixen          04-23-2021    04-27-2021   PA0002288949
           CEE95ED9C104A469ADF98BDBA7BD9D88100B6ED3                              2021
           File Hash:                                                            18:46:55
           583F3A4BB9D82D86CCB825D7150F7BD34BCA38C20295A468675AC2C3063EF76B
 8         Info Hash:                                                            09-15-     Vixen          01-29-2020    02-20-2020   PA0002229058
           284C2AF40F8FC8C17644D3517CF5AB4A239FE012                              2021
           File Hash:                                                            18:45:29
           3092BEA27C99E290F6F76B2A4F0B54B8080C88115B875C26AB07367E97309E04
                            Case 4:21-cv-03313 Document 1-1 Filed on 10/08/21 in TXSD Page 2 of 7

Work   Hashes                                                             UTC        Site      Published    Registered   Registration
9      Info Hash:                                                         09-15-     Blacked   06-21-2018   07-26-2018   PA0002112156
       14AE2BD4804167B24A4615855DAF3E0832D3F7A4                           2021       Raw
       File Hash:                                                         18:03:14
       38B39A3472B4DE2E6FCA4A4C136936BDFC395BE38F45807B3884E3BBDBBFB02D
10     Info Hash:                                                         09-15-     Tushy     07-18-2021   08-02-2021   PA0002305087
       A9D72898F59A38BD6BE680AB25DFBDDC450837AF                           2021
       File Hash:                                                         18:01:44
       E9822B37E4B39490EEC209FF6DDAFBA77E8776075369F25C361AB8194857EA3E
11     Info Hash:                                                         09-07-     Blacked   09-04-2021   09-21-2021   PA0002312679
       B3E42C84C48B8BEBEAC209531FF7F9AD54593F7F                           2021
       File Hash:                                                         19:18:31
       673065A1DFFD464A5047C0181D534DC453ECF0026CC047D8DF60DD5354DF7DED
12     Info Hash:                                                         08-21-     Vixen     07-16-2021   09-21-2021   PA0002312673
       454F1DF89C04DC37D4751C74FDA2BD1524A7BF87                           2021
       File Hash:                                                         07:24:03
       5AB87E700F6CE71C5A22ED3D85E819CA76CFCFFEB03C2C9A518AEAEE5BD5BD0C
13     Info Hash:                                                         07-05-     Blacked   06-28-2021   07-08-2021   PA0002300664
       D28DB73522EC886FE3C7FF121F08DA1296C83B70                           2021       Raw
       File Hash:                                                         11:35:53
       296984FF61F9590FBD6049CF61271D6BFAE9D17CD3D76DAA5B4CAFD611B822C4
14     Info Hash:                                                         05-25-     Tushy     09-23-2019   10-07-2019   PA0002205466
       73ABAE3A120B61B747B6127B54F0566E9B0E2964                           2021
       File Hash:                                                         05:08:01
       C355CCCE582DE2FCCC86E4715BA889C02F95C74670176A6CFAC2821FC104F84D
15     Info Hash:                                                         05-05-     Vixen     12-25-2019   01-03-2020   PA0002219640
       07C2651DB7F9E45B2969DD074192258A70307A24                           2021
       File Hash:                                                         23:52:23
       76E5085D327451D657698BCD82B2F5DC2A26479DF8F58DEB0236CF6E5DF1784B
16     Info Hash:                                                         05-05-     Vixen     07-13-2017   08-10-2017   PA0002046873
       195379C572F8798AFFC43F3BDBF19943F1A928E8                           2021
       File Hash:                                                         23:51:18
       49E06E101F41A4B4072639E400922C4EB49157432793E33EF74D2666E0191047
17     Info Hash:                                                         05-05-     Vixen     05-09-2017   06-22-2017   PA0002039298
       EF8E992865D6DFF0A5496AEC142A48227D8C2F6D                           2021
       File Hash:                                                         23:50:55
       D3C6BE23246FE1168D496C94BEA9727BC1793305B262F1A96A6A27D199477679
                            Case 4:21-cv-03313 Document 1-1 Filed on 10/08/21 in TXSD Page 3 of 7

Work   Hashes                                                             UTC        Site      Published    Registered   Registration
18     Info Hash:                                                         05-05-     Vixen     02-13-2018   03-02-2018   PA0002104793
       06AF21099D66C78CF6AC619ACC6CB6DE49E6C40E                           2021
       File Hash:                                                         23:50:55
       F5A8B70FED81AAC149CE6599EC9D7C53F419979947607F67845FB5613D705FB2
19     Info Hash:                                                         05-05-     Blacked   04-19-2021   04-27-2021   PA0002288984
       1131137E07C4026A3A78DCFED97242444284D2DE                           2021       Raw
       File Hash:                                                         21:36:31
       462B7D5D68F0B444C8B9207058FA80D435FF6BB40F42A5037402819D7E4846B3
20     Info Hash:                                                         04-30-     Vixen     09-11-2018   10-16-2018   PA0002127780
       99C0003686046E848CDB8C0D2B09F797C1702974                           2021
       File Hash:                                                         07:49:06
       C3A3E8AE9285F94208B9F7A8DD06DCEEB8259C3E39B3F243FB6A16329FCB983B
21     Info Hash:                                                         04-30-     Vixen     07-23-2017   08-10-2017   PA0002046877
       258961E123E520633A96CDF11E8E6F60E233C816                           2021
       File Hash:                                                         07:48:53
       A116D3BED05F6DD226D58A71AFCD167970C507F1B10DCD4306EA08F55BFE4621
22     Info Hash:                                                         01-01-     Vixen     12-10-2017   01-04-2018   PA0002097451
       63DFE31973E8D9C33E4F6DC4A565B760E78B2463                           2021
       File Hash:                                                         09:15:26
       5823B89B3CE90E5E33801FF1E9C4C87D98B236B0012E245C8248E40D0E7F79FB
23     Info Hash:                                                         12-27-     Blacked   10-17-2017   11-27-2017   PA0002097981
       F011B5C1E76C5CD712DADA5DF9CE66184EAA72B2                           2020
       File Hash:                                                         08:51:41
       9A63B663DD43205E88F862BBC956987D0E51AE9C368621C6C3BEC154DFE58488
24     Info Hash:                                                         10-31-     Blacked   05-10-2017   06-22-2017   PA0002039285
       D789BCE0D78834D6638DD1902EE9F64A6F1378FA                           2019
       File Hash:                                                         10:01:46
       34BEBBCA4375BC8E553175E7827F0441ADAE5B35673BB5C0A0BCA279324B7E0A
25     Info Hash:                                                         08-17-     Blacked   08-15-2019   09-17-2019   PA0002216211
       C4381A658498D0E2939898D7950FA6C6838883D8                           2019       Raw
       File Hash:                                                         00:54:14
       BFC27CF47510FFBA2200B8157BFA5C5D3AC71420A66E78FF44143BD01E673773
26     Info Hash:                                                         05-28-     Blacked   05-27-2019   06-13-2019   PA0002180951
       3BDBA1FCA8DD25F4E9E5BEE72BCD096EE0BF2D70                           2019       Raw
       File Hash:                                                         22:11:55
       BFC06E4E85A8C084781AFFB24ADE16C25B60277CD1D55301751EE7F69F53245E
                            Case 4:21-cv-03313 Document 1-1 Filed on 10/08/21 in TXSD Page 4 of 7

Work   Hashes                                                             UTC        Site      Published    Registered   Registration
27     Info Hash:                                                         05-27-     Blacked   05-25-2019   06-13-2019   PA0002180952
       403C8C01BC2F40ED4F3C34B9040BAD024FEF26B1                           2019
       File Hash:                                                         13:39:45
       9C82F2E5123E6E84FE9251F31DB6B3E396B0E17D64458481831EA7142BCE030A
28     Info Hash:                                                         05-25-     Vixen     01-29-2019   03-24-2019   PA0002182715
       ECB025D47E1AF8E2D9F9B72D51812EB497AEFECD                           2019
       File Hash:                                                         02:33:20
       FF111E44EB7F95B770FCFC7F80DD133AAB942BDC0506CF0E8F4F540E867CA0E8
29     Info Hash:                                                         05-25-     Vixen     05-24-2019   07-17-2019   PA0002188303
       14DC01450319FAF059885ADF0076EABB4BCDE90D                           2019
       File Hash:                                                         02:29:12
       5A0897517A199D1F3669E0D12238BD6E70F5BC65B2B387F8E254CEE7ED214125
30     Info Hash:                                                         05-21-     Blacked   11-21-2018   12-18-2018   PA0002141915
       C02D9FD5786E224FF0571A891492ED06D71A0B2C                           2019       Raw
       File Hash:                                                         06:22:00
       F00A423B8587C1482259955018EE37B363DB3A00BE88BD80BF44B86CBC569693
31     Info Hash:                                                         05-21-     Vixen     11-25-2018   01-22-2019   PA0002149840
       9FE6E4F89F84C4AA95A983CE8C35A80E68D4E133                           2019
       File Hash:                                                         06:20:45
       B35A386D31D02B2B002FA0EA455EA8AE4C8C7A97E5C73042460E0D71ACB18CEF
32     Info Hash:                                                         05-19-     Vixen     05-19-2019   06-13-2019   PA0002180953
       23525D043E22AA5AAE5DF21A41D12544E94929E6                           2019
       File Hash:                                                         23:48:16
       40237A03D5DA76AD0B13590DB01306190A54AE9EFD8FF1F34E24F4C4F5DB97F7
33     Info Hash:                                                         05-16-     Blacked   05-15-2019   07-05-2019   PA0002206387
       05F7FA6E0BCB6C91F501CCCC3D6447D35AE8EC51                           2019
       File Hash:                                                         02:46:48
       C8BCC7AAB76C9D28FD09B301ABD01733F4A289BE8DDEF2B19EEA9BF14122FF97
34     Info Hash:                                                         05-14-     Vixen     05-14-2019   07-05-2019   PA0002206408
       F97BD824E6BABC07A664157727B05FC427B4FDCA                           2019
       File Hash:                                                         21:32:55
       5410BFBFF2BBF9D7A7527B02768F34FFF7AD7D98FC06D2124321E38322319CFA
35     Info Hash:                                                         04-30-     Vixen     04-29-2019   06-03-2019   PA0002178770
       8F104C89FA74744BEB02B58214813B42F91E779A                           2019
       File Hash:                                                         19:24:24
       3AC4C4ABEF58092E0A30B0621D5016FAB655BFD1954D745D95DF327D6A702E11
                            Case 4:21-cv-03313 Document 1-1 Filed on 10/08/21 in TXSD Page 5 of 7

Work   Hashes                                                             UTC        Site      Published    Registered   Registration
36     Info Hash:                                                         04-28-     Blacked   02-21-2019   04-29-2019   PA0002170356
       9EAF69B3A5BA35D5D87FC8F641D8B1D440931A86                           2019       Raw
       File Hash:                                                         12:07:38
       5B41B022AF6FA2E68B6F48A61E4E80F3E9EC7085E02B2DC59E002FB41C20BD08
37     Info Hash:                                                         04-28-     Blacked   02-13-2019   03-11-2019   PA0002158597
       D4130E59A4F7FAA536754AB19E46653D45AA46FF                           2019
       File Hash:                                                         11:23:00
       CBB560E940E2451C8A2A665F1ABFB9091234B6B474242BE14C8888C1CDE9F342
38     Info Hash:                                                         04-28-     Blacked   02-19-2019   03-24-2019   PA0002184061
       7F94C59C008CA99211BC357AA9829B7372D082F3                           2019
       File Hash:                                                         11:16:02
       18F29D4BFDC7C28F9DDCE5E862D459D4F644732FF6A2BDDC2144DB599D4DD66C
39     Info Hash:                                                         04-25-     Vixen     04-24-2019   06-03-2019   PA0002178769
       52326B4EA191B7D6830DF1F611939B9E64CC3722                           2019
       File Hash:                                                         12:27:32
       2FD586D8D4834490E7A7E5E87786872FAB9995B981C78EB30DA5C3ACB75F4208
40     Info Hash:                                                         04-15-     Blacked   04-15-2019   05-11-2019   PA0002173886
       E39547E0E5CD17BF41AD4FD5134CBBAA9EBCDAFF                           2019
       File Hash:                                                         23:07:48
       C39179CF7BCDC0DE34348557BD438568B7595E3363A8200B4CA22D66151D7633
41     Info Hash:                                                         04-11-     Blacked   04-10-2019   05-11-2019   PA0002173883
       1B236768422E1E8A93ACA2BD85E58D8B510C98F6                           2019
       File Hash:                                                         06:26:57
       7C4FB204DEF6BC09A3C835F3538DF4BA9334EE2D517A6318867DF42096BDC3A2
42     Info Hash:                                                         04-09-     Vixen     04-09-2019   04-29-2019   PA0002169963
       C5467D80EAB20195A4D5C5C171EF1C0C02343317                           2019
       File Hash:                                                         22:04:21
       1C87A9DA1C044AB0BB163AF53D4AFC3207AB4AB9F481586EF90413379D95FF70
43     Info Hash:                                                         04-04-     Vixen     04-04-2019   04-29-2019   PA0002169968
       037CFE6EE5FD26826D71BC14B9C4C17F1D75B681                           2019
       File Hash:                                                         21:20:08
       336C39AA81CECA1E786A6C6A838549526A34BF8FCC7AA0D634CEE7A718B6DA26
44     Info Hash:                                                         04-03-     Blacked   04-02-2019   05-28-2019   PA0002200780
       60A3091D0C256FC35025232D5F8DCBFA7D1BE7C9                           2019       Raw
       File Hash:                                                         09:46:13
       DF2362D5ACF3E0E5C7910A44DEE2DD7B578CA09C85019E7CC8C185889814F5C1
                            Case 4:21-cv-03313 Document 1-1 Filed on 10/08/21 in TXSD Page 6 of 7

Work   Hashes                                                             UTC        Site      Published    Registered   Registration
45     Info Hash:                                                         04-02-     Blacked   03-23-2019   04-08-2019   PA0002164877
       3AF342FFAE34E88BB4EDFE585C8B5917F5C64C5E                           2019       Raw
       File Hash:                                                         01:57:36
       B8FF037D08567BCE9CDCD7F453A121721F9EAE87AD7B0DB0BABC133C84C2F3D7
46     Info Hash:                                                         04-02-     Blacked   01-05-2019   01-22-2019   PA0002147685
       F6D4E1BDAC22806E16F59B2FED59203CE8516285                           2019
       File Hash:                                                         01:55:55
       648C749EA5701476CE9F061C586AD21F16FCD039C729BA4FC0A5C77FEF97E639
47     Info Hash:                                                         04-02-     Blacked   01-10-2019   02-02-2019   PA0002155382
       AA9D6ED52E9FECEA19124A8F7FE433617F801994                           2019
       File Hash:                                                         01:34:49
       3A24DE8F7A7AF1CE8D0BF9896895AC6606FE5CCF057E77AF300CFA9F83F06ACB
48     Info Hash:                                                         04-01-     Blacked   01-22-2019   03-24-2019   PA0002183202
       3A044739A06E8810D463AF9E665A7EA450F0D8DC                           2019       Raw
       File Hash:                                                         23:21:29
       FCE98DA6B84054BD9E061465FAA08D7427511E44F411F6E5C127DAFC3B22644C
49     Info Hash:                                                         03-31-     Vixen     03-30-2019   04-29-2019   PA0002169943
       24AE3812ECC6B6C2A00EAFCCA42FCAFCE17F3EDC                           2019
       File Hash:                                                         23:22:24
       9F6EFDCD4FBFD45C2542295349DCCEA4B058323C05F1D297B773654EC5A01CD1
50     Info Hash:                                                         03-26-     Vixen     03-25-2019   04-16-2019   PA0002187577
       5BEC96C01D33FA5802AAEA7E6E408FCA13CC84A4                           2019
       File Hash:                                                         07:53:12
       829D6412707F891385AF6D5D9F69B5AD482B7B98A9A32076BD46AF58D55F6B74
51     Info Hash:                                                         03-23-     Vixen     03-15-2019   04-08-2019   PA0002164872
       75FBDB11DA1487257FA65F4579DA762BEACEEA69                           2019
       File Hash:                                                         19:27:42
       EE435DEFFCA3188DD206A87BAF24F39C911C1DFD26B496202DFDE27C5C6D26A8
52     Info Hash:                                                         03-22-     Blacked   03-21-2019   04-17-2019   PA0002186999
       D2B4C2613F8E4D42CDA01E8D2703FBBDE0C97200                           2019
       File Hash:                                                         15:39:19
       E405FE35A132796271E2ADBEA8A8C4C82459515753C2BB36CE694B726C3CF3A3
53     Info Hash:                                                         03-20-     Tushy     03-17-2019   04-08-2019   PA0002164888
       73E574E4F56CCBD035DDBA1FCF86A994B22BDB6F                           2019
       File Hash:                                                         05:16:28
       73D05FBDE255FC82E52AEAD342BFCEE21D15312C70D5BFAE282DE0E3B1309945
                            Case 4:21-cv-03313 Document 1-1 Filed on 10/08/21 in TXSD Page 7 of 7

Work   Hashes                                                             UTC        Site      Published    Registered   Registration
54     Info Hash:                                                         03-14-     Blacked   03-13-2019   04-17-2019   PA0002186977
       F5715B15F5F5F25A400E6297E376883557866B0A                           2019       Raw
       File Hash:                                                         09:58:31
       A96D177318D1B6E7045F96F5FC80064D60A1D95D1C3D2CB1273B78D2ED349D5D
55     Info Hash:                                                         03-12-     Blacked   03-11-2019   03-31-2019   PA0002163979
       3F31920A34DA2F0CA746F80BF7B721D16EF85592                           2019
       File Hash:                                                         09:29:51
       86BD5FCB6681EF451BFAF1B9D62C160AF11102A50E07367E5702D00426271542
56     Info Hash:                                                         03-10-     Vixen     02-08-2019   03-24-2019   PA0002183193
       72CFD4B4691B02EBB6C3CFF42484A166A3434A64                           2019
       File Hash:                                                         15:29:10
       D47D3F2C4A2C8761FBD9119C5BC275F0090F8E62A9CACBABE72F60CAA2FA3537
57     Info Hash:                                                         03-10-     Vixen     02-13-2019   03-11-2019   PA0002158413
       9ADA8E7FF7310FD80C6DC5F9B23D3441603D226D                           2019
       File Hash:                                                         15:27:40
       9F97826C17C37B8DF6818693ED4F140ED51A3D1099AFB95AAE54DEE169C34515
